                              NO. 07-10-00076-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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MAY 13, 2010
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                            SAMUEL SOLIS, APPELLANT
                                       
                                      v.
                                       
RONALD J. OSELETTO AND SHERRI OSELETTO, INDIVIDUALLY AND AS NEXT FRIEND OF ZACHARRY OSELETTO AND ZANE OSELETTO, MINORS, APPELLEES
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                FROM THE 46TH DISTRICT COURT OF HARDEMAN COUNTY;
                                       
                  NO. 10,273; HONORABLE DAN MIKE BIRD, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
                                       
Appellant, Samuel Solis, has filed a motion seeking withdrawal of his notice of appeal.  We construe this motion as appellant's motion to dismiss appeal.  See Tex. R. App. P. 42.1(a)(1).  No decision of this Court having been delivered to date, we grant the motion.  Accordingly, the appeal is dismissed.  Id.  All costs related to this appeal are assessed against appellant. See Tex. R. App. P. 42.1(d).  If dismissal will prevent appellees from seeking relief to which they would otherwise be entitled, the Court directs appellees to file a timely motion for rehearing.  No motion for rehearing from appellant will be entertained.


								Mackey K. Hancock
									Justice

                                       
                                       
	

